            Case 3:18-bk-33116                        Doc 7          Filed 10/12/18 Entered 10/12/18 16:37:39             Desc Main
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                                                               United States Bankruptcy Court
                                                                      Southern District of Ohio
            Donald Gene Winters
 In re      Hannah Marie Winters                                                                         Case No.   3:18-bk-33116
                                                                                 Debtor(s)               Chapter    7



                                                                 CERTIFICATE OF SERVICE
I hereby certify that on October 12, 2018, a copy of Chapter 7 Individual Debtors Statement of Intention was served
electronically or by regular United States mail to all interested parties, the Trustee and all creditors listed below.

 OneMain Financial
 OneMain Financial
 P.O. Box 1010
 Evansville IN 47706-0000

 Orange Lake /Wilson Resort Finance
 8505 W. Irlo Bronson
 Kissimmee FL 34747-0000

 The Huntington National Bank
 P.O. Box 1558
 Columbus OH 43216-0000

 Wells Fargo Home Mortgage
 P.O. Box 10335
 Des Moines IA 50306-0000




                                                                              /s/ D. Andrew Venters
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